             Case 4:03-cr-40079-JPG                      Document 407 Filed 06/26/12                 Page 1 of 3            Page ID
AO 245D                                                            #747
              (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 1




          UNITED STATES OF AMERICA
                     v.
                Shawn M. wolff

                                                                          Case No. 4:03CR40079-003-JPG
                                                                          USM No. 06240-025
                                                                            Melissa Day, AFPD
                                                                                                Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)            as alleged below              of the term of supervision.
D   was found in violation of condition(s)       - - - - - - - - - - - after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                             Nature of Violation                              Violation Ended
Statutory                        The defendant illegally possessed heroin & marihuana                      01/06/2012

Standard# 2                      The defendant failed to submit monthly reports timely                     05/31/2011
Standard# 7                      The defendant used alcohol to excess                                       05/27/2012
Special                          The defendant was unaccountable for approx. 4 hours                       05/27/2012
       The defendant is sentenced as provided in pages 2 through _ _:3'--_ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notifY the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 6842

Defendant's YearofBirth:             1974

City and State of Defendant's Residence:
Marion, IL 62959
                                                                                                                     District Judge
          Case 4:03-cr-40079-JPG                      Document 407 Filed 06/26/12   Page 2 of 3         Page ID
AO 2450                                                         #748
          (Rev. 09/1 l) Judgment in a Criminal Case for Revocations
          Sheet lA
                                                                                    Judgment-Page _   _,2.__ of     3
DEFENDANT: Shawn M. wolff
CASE NUMBER: 4:03CR40079-003-JPG

                                                      ADDITIONAL VIOLATIONS

                                                                                                            Violation
Violation Number              Nature of Violation                                                          Concluded
Special                        The defendant failed to call on-site drug testing                           12/16/2010
                Case 4:03-cr-40079-JPG                     Document 407 Filed 06/26/12                    Page 3 of 3        Page ID
  AO 2450                                                            #749
                (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                        Judgment- Page   3     of      3
  DEFENDANT: Shawn M. wolff
  CASE NUMBER: 4:03CR40079-003-JPG


                                                                    IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  term of:
14 months




      t/ The court makes the following recommendations to the Bureau of Prisons:
That the last six months be spent in a half-way house




      t/ The defendant is remanded to the custody of the United States Marshal.
      0     The defendant shall surrender to the United States Marshal for this district:
            0    at    -------- 0                   a.m.             0     p.m.        on
            0    as notified by the United States Marshal.

      0     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            0    before 2 p.m. on
            0    as notified by the United States Marshal.
            0    as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                            to

 at   - - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                                  By
                                                                                                 DEPUTY UNITED STATES MARSHAL
